Case 24-50792-hlb Doc970 Entered 12/18/24 09:53:59 Pagei1of5
NVB 3001 (Effective 1/21)

Name of Debtor Case Number:
A ade A | Te “fA Cate 4
hAeta i ( S. LAC AX ~ 90792
1. Name and address of holder of the Equity Interest (the person or entity
holding an Equity Interest in the Debtor. Referred to hereinafter as the 1 Check box if you are aware that anyone
“Interest holder”): else has filed a proof of interest relating to
your interest. Attach copy of statement
giving particulars.
wc heck box if you have never received N E p47 ono
any notices from the bankruptcy court or La bE Zoe4
the Debtors in this case.
t
T] Check box if this address differs from
Telephone Number: the address on the envelope seni to you By.s 4]. ty
OF ep ey the Debtors.
GS. L676

NOTE: This form SHOULD NOT be nsed to make a claim against the Debtor for money owed. A separate Proof of Claim
form shonld be used for that purpose. This form should only be used to assert an Equity interest in the Debtor. An Equity
Interest is any right srising from any capital stock and any equily security in any of the Debtor. An equity security is defined
in the Bankrupicy Code as (a) a share in a corporation whether or not transferable or denominated stock or similar COURT USE ONLY
security, (b) interest of a limited partner in a limited partnership, or (c) warrant or right other than a right to conyert, to.
purchase, sell, or subscribe to a share, security, or interest of a kind specified in subsection (a) or (b)herein.

UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEVADA a0) 0) 0
1 34 dD

AN

Account or other number by which Interest holder identifies Debtor: Check here if this claim:
(1 replaces a previously filed Proof of Interesidated:
amends a previously filed Proof of Interest dated:

2. Name and Address of any person or entity that is the record holder for 3. Date Equity Interest was acquired:
the .
“a

7

5.

6 Type of Equity Interest:
Please indicate lhe type of Equity Interest you hold:
PkCheck this box if your Equity Interest is based on an actual member interest held in Lhe Debtor.
t Check this box if your Equity Interest is based on anything else and describe that interest:
Description: 2-0/6 S68

7. Supporting Documents: Attach copies of supporiing documents, such as stock certificates, option agreements, warrants, etc.
DO NOT SEND ORIGINAL DOCUMENTS. If the documents are nol available, explain. If the documents are voluminous, attach a summary.

8. Date-Stamped Copy: To receive an acknowledgement of the Bling of your Proof of Interest, enclose a stamped, self-addressed envelope and copy of this Proof of

Interest.
9, Signature:
Check the appropriate box.
@lamithecreditor. © 1am the creditor’s authorized ageni. © 1am the trustee, or the debtor, (1 am a guarantor, surety, endorser, or othercedebtor.

(Attach copy of power of attomey, ifany.) or their authorized agent. (See Bankruptcy Rule 3005.)
(See Bankrupicy Rule 3004.)

] declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information, and reasonable belief:

Print Name: “a >

Title: “ eon
Company:___ Address and telephone number (if different from notice <__ hic beet
addressabove): (Signature)

Telephone number: 2

Penulty for presenting fraudulent claim is a fine of up to $500,000 or imprisonment for up to 5 yeurs, or both. 18 U.S.C. §§ 152 AND 3571

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PROOF OF INTEREST SUPPLEMENTAL INFORMATION:
CASE: 24-50792, META MATERIALS, INC.

FOR: Alexis Serpas

BROKER: Robinhood Securities LLC

ACCT#: 444831242

TRANSACTION DATES: between 8/16/2021 and 6/4/2024

**See transaction documentation attached**

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TRADE DATES $ INVESTED AMOUNT OF SHARES | COST AVERAGE] BUY/SELL TOTAL
8/16/2021 $3,865.01 1271.384006 $3.04 |BUY
8/17/2021 ($3,685.90) -1271 $2.90 |SELL

TOTAL | — $17911| =Ssi—“isiéi« BOE LOSS ($179.11)
8/20/2021 $4,000.00 1370.426478 $2.92 [BUY
8/20/2021 $625.01 217.106602 $2.88 |BUY

TOTAL BUY $4,625.01 1587.53308 $2.91
8/23/2021 ($5,300.58) -1587 $3.34 |SELL

TOTAL GAIN 5675.57
9/3/2021 $1,000.00 174.284326 $5.74 |BUY
9/3/2021 $200.00 32.629203 $6.13 [BUY
9/3/2021 $1,000.00 176.99115 $5.65 |BUY
9/3/2021 $1,000.00 183.238494 $5.46 |BUY
9/3/2021 $1,400.00 265.318415 $5.28 [BUY

TOTAL BUY $4,600.00 832.461588 $5.52
9/8/2021 $4,163.23) -833.378674 $5.00 [SELL

TOTAL | ‘$436.77 | 0.917086 LOSS ($436.77)
12/20/2021 $2,000.00 763.766898 $2.62 |BUY
3/29/2022 $90.50 50 $1.81 |BUY
3/31/2022 $100.00 59.880419 $1.67 |BUY
6/24/2022 $58.25 50 $1.17 |BUY
6/28/2022 $770.00 700 $1.10 [BUY
6/29/2022 $100.00 95.565749 $1.05 |BUY
6/30/2022 $100.00 101.097921 $0.99 |BUY
7/1/2022 $29.12 28 $1.04 |BUY
7/1/2022 $4.06 4 $1.02 |BUY
7/12/2022 $97.00 100 $0.97 |BUY
7/12/2022 $3.97 4 $0.99 |BUY
7/22/2022 $100.00 108.408739 $0.92 |BUY
8/2/2022 $100.00 112.752283 $0.89 |BUY
8/18/2022 $100.00 111.14816 $0.90 |BUY
8/25/2022 $100.00 118.294197 $0.85 |BUY
9/16/2022 $23.31 30 $0.78 |BUY
9/16/2022 $23.31 30 $0.78 [BUY

TOTAL BUY $3,799.52 2466.914366 $1.55
9/20/2022 ($48.82) -60 $0.81 |SELL

TOTAL $3,750.70 | __ _2406.914366 $1.55
9/22/2022 $45.05 60 $0.75 |BUY
10/4/2022 $94.90 146 $0.65 |BUY
10/4/2022 $7.15 11 $0.65 [BUY
10/6/2022 $0.69 1 $0.69 |BUY
11/28/2022 $712.66 375.085634 $1.90 |BUY
11/30/2022 $40.00 20.943504 $1.91 |BUY

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12/21/2022 $1,000.00 796.812749 $1.26 |BUY
12/23/2022 $4.00 3.455872 $1.16 |BUY
1/24/2023 $800.00 776.694431 $1.03 |BUY
2/24/2023 $152.28 235 $0.65 |BUY
4/12/2023 $99.74 259 $0.39 |BUY
4/12/2023 $8.39 22 $0.38 |BUY
5/1/2023 $94.90 500 $0.19 |BUY
5/8/2023 $99.89 475 $0.21 |BUY
5/8/2023 $100.87 488 $0.21 |BUY
5/10/2023 $95.05 435 $0.22 |BUY
5/22/2023 $95.04 396 $0.24 |BUY
5/22/2023 $9.40 39 $0.24 |BUY
5/22/2023 $5.81 22 $0.26 |BUY
5/24/2023 $95.04 352 $0.27 |BUY
5/24/2023 $4.59 17 $0.27 |BUY
5/31/2023 $48.24 190 $0.25 |BUY
5/31/2023 $50.09 232 $0.22 |BUY
6/5/2023 $101.64 462 $0.22 |BUY
6/5/2023 $0.66 3 $0.22 |BUY
6/7/2023 $64.74 266 $0.24 |BUY
6/7/2023 $2.43 10 $0.24 |BUY
6/12/2023 $94.40 400 $0.24 |BUY
6/12/2023 $7.78 33 $0.24 |BUY
6/12/2023 $0.69 3 $0.23 |BUY
6/14/2023 $96.57 423 $0.23 |BUY
6/14/2023 $6.91 30 $0.23 |BUY
6/15/2023 $24.52 111 $0.22 |BUY
TOTAL BUY $7,814.82 10000.90656 $0.78
6/15/2023 ($0.20) -0.906556 $0.22 |SELL
TOTAL 10000 $0.78
6/21/2023 $55.01 269 $0.20 |BUY
6/21/2023 $3.89 19 $0.20 |BUY
6/22/2023 $44.64 233 $0.19 |BUY
6/22/2023 $4.98 26 $0.19 |BUY
6/27/2023 $94.63 538 $0.18 |BUY
6/27/2323 $5.45 31 $0.18 |BUY
6/27/2023 $0.70 4 $0.18 |BUY
6/28/2023 $48.13 242 $0.20 |BUY
6/28/2023 $0.80 4 $0.20 |BUY
TOTAL BUY $8,072.85 11366 $0.71
7/3/2023 ($99.99) -464 $0.22 |SELL
TOTAL $7,972.86 10902 $0.73 |
7/3/2023 $14.83 69 $0.21 |BUY
7/7/2023 $8.42 45 $0.19 |BUY
7/13/2023 $0.95 5 $0.19 |BUY
7/31/2023 $94.90 411 $0.23 |BUY
7/31/2023 $4.78 20 $0.24 |BUY

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8/17/2023 $2.00 9 $0.22 |BUY
8/24/2023 $29.86 132 $0.23 |BUY
8/24/2023 $5.00 22 $0.23 |BUY
8/28/2023 $1.84 8 $0.23 |BUY
9/5/2023 $199.98 847 $0.24 |BUY
9/5/2023 $383.86 1630 $0.24 |BUY
9/6/2023 $20.14 90 $0.22 |BUY
10/2/2023 $95.20 425 $0.22 |BUY
10/2/2023 $4.70 21 $0.22 |BUY
10/5/2023 $111.10 505 $0.22 |BUY
10/5/2023 $83.60 380 $0.22 |BUY
10/6/2023 $5.49 25 $0.22 |BUY
10/17/2023 $95.22 470 $0.20 |BUY
10/19/2023 $4.92 25 $0.20 |BUY
10/20/2023 $95.70 505 $0.19 |BUY
TOTAL BUY $9,235.35 16546 $0.55
10/20/2023 ($2,569.29) -16546 $0.16 |SELL
TOTAL — 8600606, == 0 LOSS ($6,666.06)
10/20/2023 $0.15 1 $0.15 |BUY
10/24/2023 $1,487.00 10000 $0.15 |BUY
10/24/2023 $79.87 552 $0.14 |BUY
10/25/2023 $6.80 50 $0.14 |BUY
11/7/2023 $95.39 937 $0.10 |BUY
TOTAL BUY $1,669.21 11540 $0.14
11/7/2023 ($99.98) -945 $0.11 [SELL
TOTAL $1,569.23 | 0595 $0.14 |
11/13/2023 $4.93 $0.09 |BUY
11/22/2023 $2.97 $0.08 |BUY
12/18/2023 $99.95 $0.07 |BUY
12/19/2023 $1.79 $0.07 |BUY
TOTAL $1,678.87 $0.13 |BEFORE SPLIT
1/20/2024
REVERSE SPLIT 1:11 $1,678.87 122 $13.87 [AFTER SPLIT
5/22/2024 $12.24 4 $3.06 |BUY
6/3/2024 $11.00 2.678902 $4.11 |BUY
TOTAL BUY $1,702.11 128.678902 $13.22
6/4/2024 ($514.73) -128.678902 $4.00 |SELL
$1,187.48 | 20 LOSS ($1,187.38)

($7,793.75)

